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   United States of America
 7
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-0001-MCE
12                                Plaintiff,             STIPULATION AND ORDER TO CONTINUE
                                                         STATUS CONFERENCE
13                          v.
14   TONY ACOSTA ALVAREZ, and                            Date:      May 16, 2019
     LIONEL ORNELAS, aka Lionel Ornelus,                 Time:      10:00 a.m.
15                                                       Judge:     Hon. Morrison C. England, Jr.
                                 Defendants.
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17
18          Plaintiff United States of America, through its respective counsel, and defendants Tony Acosta

19 Alvarez and Lionel Ornelas, through their counsel of record, stipulate that the status conference currently
20 set for May 16, 2019, be continued to June 6, 2019, at 10:00 a.m.
21          On January 4, 2018, Mr. Alvarez and Mr. Ornelas were both arraigned on the twenty-nine-count

22 Indictment in this case. (ECF No. 21.) Following the arraignment, the United States produced 300-plus
23 pages of discovery to each defendant, which included the defendants’ criminal histories, search warrant
24 packages from the day each man was arrested, and all of the investigative packages submitted to the
25 Court during this 8-month investigation.
26          In October 2018, the government supplemented this discovery with over 1,000 additional pages

27 of reports and memoranda, and 32 compact disks with audio and video recordings from surveillance.

28 Some time later, counsel for both defendants identified technical problems with several disks. Earlier

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 1 today (May 2, 2019), the government produced replacement copies of all problem disks to both defense
 2 counsel.
 3          Counsel for both defendants require additional time to review the discovery materials, time to

 4 discuss them with their clients, time to conduct additional investigation, and time to otherwise prepare
 5 for trial.
 6          Based on the foregoing, the parties stipulate that the status conference currently scheduled for

 7 May 16, 2019, be continued to June 6, 2019, at 10:00 a.m. The parties further agree that time under the
 8 Speedy Trial Act should be excluded from the date the parties stipulated, up to and including June 6,
 9 2019, under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General Order 479
10 [Local Code T4], based on continuity of counsel and defense preparation.
11          The parties agree that the failure to grant a continuance in this case would deny defense counsel

12 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.
13 The parties also agree that the ends of justice served by the Court granting the requested continuance
14 outweigh the best interests of the public and the defendants in a speedy trial.
15                                                        Respectfully submitted,

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17 Dated: May 2, 2019                                     _/s/ Timothy H. Delgado____________
                                                          TIMOTHY H. DELGADO
18                                                        Assistant United States Attorney
                                                          Attorney for Plaintiff United States
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     Dated: May 2, 2019                                   _/s/ THD for Todd D. Leras_________
21                                                        TODD D. LERAS
                                                          Attorney for Defendant Tony Alvarez
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23
     Dated: May 2, 2019                                   _/s/ THD for Tasha Paris Chalfant____
24                                                        TASHA PARIS CHALFANT
                                                          Attorney for Defendant Lionel Ornelas
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 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the
 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective
 5 preparation, taking into account the exercise of due diligence. The Court also finds that the ends of
 6 justice served by granting the requested continuance outweigh the best interests of the public and the

 7 defendants in a speedy trial.
 8          Time from the date the parties stipulated, up to and including June 6, 2019, shall be excluded

 9 from computation of time within which the trial in this case must begin under the Speedy Trial Act, see
10 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General Order 479 [Local Code
11 T4]. It is further ordered that the May 16, 2019 status conference be continued until June 6, 2019, at
12 10:00 a.m.
13          IT IS SO ORDERED.

14 Dated: May 6, 2019
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      STIPULATION AND ORDER TO CONTINUE STATUS             3
30    CONFERENCE
